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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                                              )
                                              )      Case No. 14 CR 155-5
               v.                             )
                                              )
                                              )
MARIO WHITFIELD.                              )

                         MEMORANDUM OPINION AND ORDER

AMY J. ST. EVE, District Court Judge:

       Defendant Mario Whitfield has moved for a judgment of acquittal or, in the alternative,

for a new trial. For the reasons explained in detail below, the Court denies Defendant’s motion.

                                        BACKGROUND

       On September 17, 2015, a grand jury returned a fifteen-count Third Superseding

Indictment (the “Indictment”) against Defendant and his co-defendants, Toby Jones and Kelsey

Jones. (R. 216, the Indictment.) The Indictment charged Defendant, also known as “Rio,” and

“Smoke” and “Smitty,” in one of the fifteen counts. Specifically, Count Fifteen of the

Indictment charged Defendant Whitfield with, knowing that Toby Jones had committed an

offense against the United States, receiving, relieving, comforting, and assisting Toby Jones in

order to prevent his apprehension, trial and punishment, in violation of Title 18, United States

Code, Section 3.

       Defendant proceeded to a nearly two-week bench trial on Count Fifteen. Co-Defendant

Toby Jones also proceeded with a bench trial during this time and co-defendant Kelsey Jones

proceeded with a simultaneous jury trial.
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             During the trial, the government called the following witnesses relevant to Defendant

Whitfield: Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”) Special Agent Chris

Labno, Jamie Ringswald, Mark Ringswald, Sprint Records Custodian Ray Clarke, Christy

Miskell, ATF Special Agent Kevin Schuster, United States Secret Service (“SS”) Special Agent

Michael Saccomen, and Tim Kucharski. Defendant did not call any witnesses and did not testify

at trial.

            The Court found Defendant guilty on Count Fifteen of the Indictment. Defendant now

moves for a judgment of acquittal or new trial, pursuant to Federal Rules of Criminal Procedure

29 and 33. (R. 321.)

                                           LEGAL STANDARD

I.          Motion for Judgment of Acquittal – Rule 29

            Rule 29(a) provides that, “[a]fter the government closes its evidence or after the close of

all the evidence, the court on the defendant’s motion must enter a judgment of acquittal of any

offense for which the evidence is insufficient to sustain a conviction.” Fed. R. Crim. P. 29(a).

When, as here, a defendant makes a Rule 29(a) motion at the close of the government’s case, and

the court reserves decision, the court “must decide the motion on the basis of the evidence at the

time the ruling was reserved.” Fed. R. Crim. P. 29(b).

            The Seventh Circuit reviews “a claim that a district court’s verdict after a bench trial is

unsupported by the evidence with the same deferential standard that applies to a jury verdict”

and will “reverse only if, after viewing the evidence in the light most favorable to the

government, it “determine[s] that no rational trier of fact could have found the defendant guilty

beyond a reasonable doubt.” United States v. Doody, 600 F.3d 752, 754 (7th Cir. 2010). “In

challenging the sufficiency of the evidence, [a defendant] bears a heavy, indeed, nearly



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insurmountable, burden.” United States v. Warren, 593 F.3d 540, 546 (7th Cir. 2010); see also

United States v. Jones, 713 F.3d 336, 339-40 (7th Cir. 2013); United States v. Berg, 640 F.3d

239, 246 (7th Cir. 2011); United States v. Dinga, 609 F.3d 904, 907 (7th Cir. 2010); United

States v. Morris, 576 F.3d 661, 665-66 (7th Cir. 2009). Indeed, a “defendant faces an uphill

battle in challenging the sufficiency of the evidence.” United States v. Orlando, 819 F.3d 1016,

1021 (7th Cir. 2016). The reviewing court will view the “evidence in the light most favorable to

the prosecution,” and the defendant “‘must convince’ the court that, even in that light, ‘no

rational trier of fact could have found him guilty beyond a reasonable doubt.’” Warren, 593 F.3d

at 546 (quoting United States v. Moore, 572 F.3d 334, 337 (7th Cir. 2009)); see also United

States v. Rahman, 805 F.3d 822, 836 (7th Cir. 2015). In other words, a court will “set aside a

jury’s guilty verdict only if ‘the record contains no evidence, regardless of how it is weighed,’

from which a jury could have returned a conviction.” United States v. Presbitero, 569 F.3d 691,

704 (7th Cir. 2009) (quoting United States v. Moses, 513 F.3d 727, 733 (7th Cir. 2008)); see also

Warren, 593 F.3d at 546. It follows that under Rule 29, courts “do not reassess the weight of the

evidence or second-guess the trier of fact’s credibility determinations.” United States v. Arthur,

582 F.3d 713, 717 (7th Cir. 2009); see also United States v. Severson, 569 F.3d 683, 688 (7th

Cir. 2009).

II.      Motion for a New Trial – Rule 33

         Rule 33 of the Federal Rules of Criminal Procedure provides that, “[u]pon the

defendant’s motion, the court may vacate any judgment and grant a new trial if the interest of

justice so requires.” Fed. R. Crim. P. 33(a); see also United States v. Berg, 714 F.3d 490, 500

(7th Cir. 2013); United States v. Smith, 674 F.3d 722, 728 (7th Cir. 2012) (reviewing a district

court’s order on a Rule 33 motion for abuse of discretion); United States v. McGee, 408 F.3d



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966, 979 (7th Cir. 2005). “‘[C]ourts have interpreted [Rule 33] to require a new trial in the

interests of justice in a variety of situations in which the substantial rights of the defendant have

been jeopardized by errors or omissions during trial.’” United States v. Eberhart, 388 F.3d 1043,

1048 (7th Cir. 2004) (quoting United States v. Kuzniar, 881 F.2d 466, 470 (7th Cir. 1989)),

overruled on other grounds, 546 U.S. 12, 126 S. Ct. 403, 163 L. Ed. 2d 14 (2005).

       “‘A … verdict in a criminal case is not to be overturned lightly,’” however, “‘and

therefore a Rule 33 motion is not to be granted lightly.’” Eberhart, 388 F.3d at 1048 (quoting

United States v. Santos, 20 F.3d 280, 285 (7th Cir. 1994)). The court “may grant a new trial if

the jury’s verdict is ‘so contrary to the weight of the evidence that a new trial is required in the

interest of justice.’” United States v. Washington, 184 F.3d 653, 657 (7th Cir. 1999) (“The focus

in a motion for a new trial is not on whether the testimony is so incredible that it should have

been excluded. Rather, the court considers whether the verdict is against the manifest weight of

the evidence, taking into account the credibility of the witnesses.”); see also United States v.

Chambers, 642 F.3d 588, 592 (7th Cir. 2011). In other words, “[t]he court should grant a motion

for a new trial only if the evidence ‘preponderate[s] heavily against the verdict, such that it

would be a miscarriage of justice to let the verdict stand.’” United States v. Swan, 486 F.3d 260,

266 (7th Cir. 2007) (quoting United States v. Reed, 875 F.2d 107, 113 (7th Cir. 1989)); see also

Presbitero, 569 F.3d at 706.

                                            ANALYSIS


       As an initial matter, Defendant has not developed any of his arguments. Instead, he has

raised them in perfunctory, one-sentence assertions. Because he has not developed any of these

arguments, he has waived them. See United States v. Hassebrock, 663 F.3d 906, 914 (7th Cir.

2011) (finding the argument was “decidedly underdeveloped and therefore waived”); United


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States v. Foster, 652 F.3d 776, 792 (7th Cir. 2011) (“As we have said numerous times,

undeveloped arguments are deemed waived [.]”) (internal quotation marks and citation omitted).

See also Willis v. Lepine, 687 F.3d 826, 836 (7th Cir. 2012) (“Merely reciting the Rule 59(a)

standard and then tossing the motion into the court’s lap is not enough. Failure to adequately

present an issue to the district court waives the issue on appeal.”); United States v. Berkowitz,

927 F.2d 1376, 1384 (7th Cir. 1991) (“We repeatedly have made clear that perfunctory and

undeveloped arguments, and arguments that are unsupported by pertinent authority, are waived

...”). Despite Defendant’s waiver, the Court will address each argument to the extent possible.

In addition, the Court incorporates by reference its prior rulings on these issues.

I.      The Evidence Was More than Sufficient to Convict Defendant

        Defendant Whitfield is charged in Count 15 with accessory after the fact. Specifically, he

was charged with on or about April 19, 2014, “knowing that an offense against the United States

had been committed, namely, that Toby Jones knowingly and intentionally distributed a

controlled substance, in violation of Title 21, United States Code, Section 841(a)(1), received,

relieved, comforted and assisted Toby Jones in order to hinder and prevent his apprehension, trial

and punishment, in violation of Title 18, united States Code, Section 3.” (R. 216.) “Accessories

after the fact are ones who give aid after the criminal endeavor has ended to keep the one aided

from being caught or punished.” United States v. Irwin, 149 F.3d 565, 571 (7th Cir. 1998).

In order to prove Defendant Whitfield guilty of accessory after the fact as charged in Count 15,

the government had to prove the following elements beyond a reasonable doubt: 1) Toby Jones

had committed the crime of drug distribution, 2) Defendant Whitfield knew that Toby Jones had

committed the crime of drug distribution, and 3) Defendant Whitfield assisted Toby Jones in

some way with the intent to obstruct or prevent Toby Jones from being arrested, prosecuted or



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punished. See United States v. Osborn, 120 F.3d 59, 63 (7th Cir. 1997). “The defendant merely

needs to know about the conduct underlying the crime, not that the conduct itself constituted a

crime against the United States.” United States v. Vanschoyck, 309 F. App’x 23, 26 (7th Cir.

2009).

         Regarding the first element, the government overwhelmingly proved beyond a reasonable

doubt that Toby Jones committed the crime of drug distribution. The government introduced

video evidence, audio recordings, confidential informant testimony, cooperating witness

testimony, and extensive phone records to easily establish this element. Defendant does not

provide any argument to contest this element.

         The government also proved beyond a reasonable doubt that Defendant Whitfield knew

that Toby Jones was distributing drugs. On September 4, 2015, Agent Labno interviewed

Defendant Whitfield for approximately 45 minutes. Agent Labno credibly testified about their

conversation. Whitfield admitted that he knew Toby Jones, who he referred to as “Smitty.” He

also identified Toby Jones in a photo lineup. Whitfield told the agents that he and Toby Jones

were friends and that he met him on the street on the West Side. During the interview,

Defendant admitted to Agent Labno that Toby Jones “had explained to him that one of his

workers, one of the people who sold drugs for him had traded some drugs for some guns and that

the guy was arrested.” (Labno testimony.) This admission proves that he knew Toby Jones was

distributing drugs.

         Finally, the government proved beyond a reasonable doubt that Defendant Whitfield

assisted Toby Jones in some way with the intent to obstruct or prevent Toby Jones from being

arrested, prosecuted or punished. Specifically, Whitfield drove Toby Jones around for several

days to evade law enforcement and to prevent law enforcement from arresting and prosecuting



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Toby Jones. During the September 4, 2015, interview, Whitfield gave a detailed admission that

he knowingly assisted Toby Jones while he was a fugitive. Whitfield admitted to the agents that

he had dropped Toby Jones and his girlfriend off at a hotel in Hillside, Illinois, and picked them

up the day before they were arrested. He drove them in his red minivan. He picked them up

again right before they were arrested and dropped them back at the hotel. Further, Whitfield

confessed that he knew at the time he was driving Toby Jones and his girlfriend around that

Toby Jones was on the run from federal law enforcement. Agent Labno explained that Whitfield

specifically admitted “that Toby Jones told [him] that he had been also charged and he was

trying to evade the police, evade law enforcement.” (Labno testimony.) Whitfield helped him

because “my guy was in trouble.” (Id.) Agent Labno further explained that Whitfield told him

that he drove Toby Jones and his girlfriend around “to help Toby evade law enforcement, being

captured by the police, because he understood that they couldn’t – he or his girlfriend – Toby or

his girlfriend – couldn’t drive around in their cars because the police knew what car they were

driving.” (Id.) In addition, Agent Labno observed Toby Jones and his girlfriend get into the red

minivan driven by Whitfield while they were avoiding law enforcement.

       Furthermore, as discussed below, the Court admitted an April 23, 2014 recorded

conversation between Defendant and Toby Jones in which Defendant admitted to driving Toby

Jones to and from a hotel during this time. He further tells Toby Jones that Jones should have

taken some other actions to avoid being caught.

       The evidence overwhelmingly demonstrated that the red minivan belonged to Whitfield,

including the testimony of Tim Kucharski, the city employee who testified regarding the tow

report on the red minivan and that fact that it was released to Whitfield. (Gov. Exs. Caravan

documents 1-2.) Whitfield signed the report reflected that the red minivan was released to him.



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(Gov. Ex. Caravan document 2.) The documents also linked the red minivan to Whitfield’s

address. (Gov. Exs. Caravan documents 3-5.) As the Court described in its ruling, the

testimony of Christy Miskell, Jamie Ringswald and Mark Ringswald linked Defendant to the red

minivan as well. Moreover, Defendant admitted that he was driving the red minivan. He also

identified his telephone numbers which was the same telephone number used on Government

Exhibit Caravan Document 3 and 5.

         Viewing the evidence in the light most favorable to the government, a rational trier of

fact could easily have found Defendant Whitfield guilty beyond a reasonable doubt of being

accessory after the fact. Accordingly, the Court denies his motion for judgment of acquittal.

II.      The Court Did Not Commit any Errors

         Defendant argues that the Court erred by admitting an April 23, 2014 recorded

conversation between Defendant and Toby Jones because it was not relevant to the issue of

whether Defendant knew on April 19, 2014 that Toby Jones was felling from arrest. This call

was directly relevant to the charged conduct. Toby Jones placed the call – which took place four

days after law enforcement arrested Toby Jones – to Whitfield while he was incarcerated at the

Metropolitan Correctional Center (“MCC”). (Gov. Ex. April 23rd, 2014 Toby Jones/Mario

Whitfield Phone Call). During the call, Defendant told Toby Jones that he should have had

someone else sign him into “that joint,” referring to the hotel where Defendant drove Toby Jones

and his girlfriend to and from while Toby Jones was fleeing from law enforcement. Whitfield

specifically refers to the “joint” as the place where he picked Jones up. His admission to driving

Toby Jones to and from the particular hotel where Jones was hiding from law enforcement is

directly relevant to his intent to help Jones evade law enforcement.




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        Defendant also argues that the Court erred in finding Defendant guilty beyond a

reasonable doubt “where the evidence relied on certain oral admissions not supported by

physical evidence.” (R. 321 at 2.) Defendant, however, does not identify which oral admissions.

Regardless, the law is clear that the Court can rely on testimonial evidence without supporting

physical evidence.

        Because the Court did not commit any errors, the Court denies the motion for a new trial.

                                          CONCLUSION

        For the reasons discussed in detail above, the Court denies Defendant’s motion for a

judgment of acquittal or, in the alternative, for a new trial.


Dated: June 13, 2016                                             ENTERED




                                                                 ______________________________
                                                                 AMY J. ST. EVE
                                                                 United States District Court Judge




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